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           Exhibit 9
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                   Maro Toberoff (MT 486.2)
                   TOBE.ROFF &ASSOCIATES. P.C.
                   2049 Centwy Park East. Suite 2720
                   Los Angaes, CA 90067
                   Tel: 310-246-3333
                   Attorneys for Defendants Lisa R Kirby, Barbara J.
                   Kirby, NealL. Kirby and Suaan. N. Kirby


                   UNITED STATES DISTRICT COURT
                   SOU'Il:IERN DISTRICT OF NEW YOR.K

                   MARVEL WOIUDWIDE. INC .•
                   MARVEL CHARAC'iER.s, INC. and
                   MVL RIOHTS, ILC,
                                                                            Civil Action No. 10..141 (CM) (I(F)
                                                · Plaintiffa,
                                                                                [Hon. Colleen McMahon]
                          -against-
                                                                                [ECF Case]
                   USA R K.IR.BY, BARBARA 1. KIRBY,
                   NEALL. KIRBY and SUSAN N. KIRBY~

                                                 Defendants.




                   DECLARATION O.F JAMES F. STERANKO IN SUPPORT OF DEFENDANTS'
                   MOTION FOR SUMMARY JUDGMENT AND DEFENDANTS' OPPOSITION
                                TO PLAJNlW'S' MQTIQN FOR SUMMARY JUPGMENT




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                          I, Jzunea F. Stenmko, hereby declare as follows:

                          1.    ·   I am familiar with the facts Rt forth below and make this declaration in
                  suppon of defendants' modon for summary judgment and ctercndams• opposition to
                  plaintiffil' motion for summary judgment. The facts set forth herein are known to me of
                  my own personal finrthand knowledge tmd, if called as a witness, I could and would
                  teStf1Y competently thereto undCC' oath.
                         2.         1 am a lonatime comic book artist and historian. I am the author of the
                  two-volume 'I1lt _Ster&nkoHiltpQ" of CgmjSJA, foe whioh I was awarded the 1970 Shazam
                  Award for Ou.qtanding Aclllcvement by an Individual by lhe Academy of Comic Book
                  Arts. I also was inducted into the Will Eisner Comic Book Hall of Fame in 2006.
                  Wizard Magazine, a comic industry publication. has credited me as The Fifth Most
                  Influential ~om.ies Artist in the History of the Form. Michael Chabon cited me as an
                  inspiration for his Pulitzer PriUrwinning novel. The Advenrures of.KDvalter ci Ckzy.
                         3. ·       I brolce into the comic book business. in 1966 when I sold atori.ec to editor
                  Joe Simon· at Harvey Comics. Simon was· spearheeding a new line of superhero comics
                  at Harvey under the Harvey Thrlllcr banner. and I sold Stories 1 wrote to ~ey. which
                  published them in its Spyman Nos. I and 2 and Double...IJare Adventures No.1.
                         4.         I then sold arorieJ and artworlc: on a freelance basis to Marvel for its
                  superspy Nick Fury feature inS~ Tales Nos. 151 throoP 168 (December 1966 to
              May 1968) and then for its stand-alone Ntck Fury. Agent ofSHIELD comie boolc Nos. 1
              through 7 (June 1968 to December 1968). I also ~d MatV.-J stori.s and artwork that

              were published in Captain A.nNrica NOB. 110, 111 and 113 (Fcbroary, Marcl1 and May
              1969),XMenNos. 50 and 51 (November 1968 and .December 1968). TowuofShadows
              No. 1 (September 1969) and Our Love Stmy No. S (June 1970),. and artwork for Marvel's
              1he Incredible Hulk Special No. J (October l968h X -Men No. 49 (Ootobcr 1968). Doc



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             Savage Noa. 2 and 3 (December 197'2 and FebiU&JY 1973), $hanna the SM-D6vil Noa. 1
             and 2 (December 1972 and February 1973), Svpernatural Thrtller3 Nos. 1 and 2
             (l)eeember 1972 and FebruatY 1973) and Fantastic Four Noa. 130 throuab 132 (Janum:y

                 1973 through March 1973).
                        s.      In total, I sold stories and IIJ"tWOrk. to Marvel on a regular basis from 1966

                 w. 1913. 1 :nay~ busy with oth« projects as well. In 1969 I tbrmed my own publishing
                 c:om~any. Superaraphica. through which I publiahed in 1970 and 1972 The Stcnplm
                 HiRtQty of Cpmjq. I aold to Warren Publishing tho artwork for the oovor of Ewl6 No. 2S

                 (Jan\W'Y 1970). AJao in 1970, Iworiced with writer Byron Preiss on The Block, an anti-

                 drui comic book: that was ,Non out at el~entarY cchools acrou the United States. In
                 1972 I began publishiua throu&h Su~hics the magazine Comix!Oene, which
                 became Mediaacene in 1973 and later. Prevue maaazine. I also sold storic::s and artwork
                 to DC Comics, Archio Comics, Baronet Publishing, Eclipse. HM Communications. Inc.,

                 Image. Radical Comic;s and Vanguard Produc;tions, among others.
                        6.      I was awarded the Alley Award in 1968 for Best Pencil Artist; my cover
                 for NtckFury, Agent ofSHIELD No. 6 was aiveil the Alley Award that same year for
                 Best Covor, and the Nick Fwy, Agtlnt ofSH1ELD title wu named to the Alley Awards'
                 Hall ofFame. In 1969, my covc:r for Captain .America No. 113 won the Alley Award for
                 Best CoV«, and my atory "At the Stroke ofMidniaht"' for Toweroj'ShadowsNo. I was
                 given the Alley Award for Best Feature Story. In 1973, I became the founding editor of

                 Marvel's official fan magazine, FOOM.
                        7. .    I understand ftom press coveraae of this case that Marvel is claiming that
                 the artworlc created by Jack Kirby and other freelance .artim in the 1960s Wti "work
                 made for hire."
                        8.      I neither &igncd nor waa offcxcd a CiOIItraCt when I sold my stories and
                 artwork to M.alvelln the 19608 and the early I 970s. In this period no one at Marvel
                 informod me either before or after l had. created stories and anwork at my own expense


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                 that MarVel somehOw owned it at inception as "WOlle for hire." Given Marvel's mlence
                 as to "work for hire" during this period, r aincerely doubt that even Marvel con;idered the
                 material it bought by the page from freelancen to be "Work f« hire." In fact, 1 do not
                 believe that I. the other tteelancers. Marvel·s editor. Stan Lee. or Marvef•s small staff
             were even farniliu with the term "work for hire" in the 1960'& or early 1970'"·
                        9.      At that timo, I ~ and the people l dealt with at Marv.l appee.red
             to understand simply that I was 1Sdling and the publisher was purchasing my fteelance

             work. It would not have been credible then and Jt i& not credible now to say that the work
             I aold to Marvel or to the other comic book. publiaherw in those days was "work for hire."
             owned by the publisher from the moment of its creation..
                        1o.    During this period I wrote and drew comic book stortes at my own S1Udlo-
             residence and minimally interacted with Marvel until! submitted my material for
             acceptance. With few exceptions, I plottocl, wrOte, drow, inked and colored the works I
             created which were published by Marvel. I determined my own hours of wmk, u5UB.lly

             into the night and paid for my own overhead. research rna.teriab and art supplies
             (pea.cila, bruahea, ink, etc.) with which I created the material. MaJvel did not reimburse
             me for eny of these expenses, including my travel ~penses (gas, tolls, parkjng) whcm I
             drove ftom out of~ to ~eir offices. Marvel and the other comic book companies also
             did not provide me with any Jcind of vacation pay, side pay, or health bonefits,noc did
             they withhold money from my checks £or tax pwpoae5. I had to handle all of this on my
             ownl with no financial acc:urity.

                        11.    It was understood that Marvel had the option to purchase or reject my

             worlc (as they·did on sever&l occuione), and that! had no con1raetwith them, so I wu
             free to sell my work to any other publi.!hcr in a similZU" mamta. It would be umrue tO say
           . now that Marvel owned the material I aeated in this fashion as •"work for hi~ ftom the
            moment my pencil touched paper. This did not match up with the industry standard,
            teality or conduct of freelaDO«S and/or publishcn at this time.


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                     12.     On tho backs ofmany.ofthe checb 1 rcocived from Marvel in the \960s
             and I 970s wu a ~tamped leaatd which stated that by endorsing the check. I was
             ass~ to the pUblisher all rights in the work. including the copyright. Nowhere did

             the phrase ''work for hire"" or "worJc made for hire• appear.

                     13. . A.a waa typical for the time:, I was paid by Ma.Ivcl and the other comic
             book companies on a per-page basis tor the pages Marvel purcllased, rathet" than a
             strai.aht salary or on a per-project basia.. Payment, of~ wu contingent on the
             approval ofMarvel'a editor of tho oompleted woric, and Marvel paid freeiiiJJoe artists only
             for those pages of' material it accepled .
                    . 14.    In tboae days we worked without any tangible guarantee from the
             publiahers. and shouldered the financial risk of creating our own material. Marvel also
             did not pay freelancers for the additional time of revi3ing their artwOik to Marvel's
             satisfaction before MalVel would purchase it It was clear that we were not being paid
             for our aervices or time, but that Marvel waa buying a :finiahed product from us.
                     IS.     Sometime in the early I980s) Marvel :tuddenly began returning original
             artwork to freclancers, including to me. It was my undemanding at lbat lime that it had
            come to Uaht that comic book publishers in CaJi£omia wefe withholding/paying aales tax
            on their purchase offreolanc. artwork, and that :first DC Cornice_ and then Marvel.
            became concerned that if it did not ,n,turn to freelancei3 their original artwork, it ran the

            risk of owing a aiaantic sum in back sales taX. to Albany, NY.
                    16.     1, and the other fraelancen, welcomed the- return of our artwork u it
            provided a source of income. However, Marvel used this u leverage and ti011di1ioned the
            return of such artwork on our signing release forriJ.s drafted by Marvel ·s attOrneys. The

            releases re-chara.cterized evezytblng published by Marv~I yeara earlier u "work made for
            hire." I dicasree<f with this and doubted its legality. but ultimately signed the :rdcase as




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                 Marvel would not have otherwise returned my orisinal artwodc.


                         I declare under penalty of pajury that to the best of my knowledge the
                 foregoing is true and Oon-eot.



                 Dated: March,.!t 2011




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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was served electronically by

the Court’s ECF system and by first class mail on those parties not registered for ECF

pursuant to the rules of this court.

Dated: March 25, 2011                           Respectfully submitted,
                                                TOBEROFF & ASSOCIATES, P.C.

                                                /s/ Marc Toberoff
                                                Marc Toberoff
                                                2049 Century Park East, Suite 3630
                                                Los Angeles, California 90067
                                                Tel.       (310) 246-3333
                                                Facsimile: (310) 246-3101
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                                                Attorneys for defendants
                                                Lisa R. Kirby, Barbara J. Kirby, Neal L.
                                                Kirby and Susan M. Kirby




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